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                            EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 INTERNATIONAL BUSINESS MACHINES )
 CORPORATION                     )
                                 )
      Plaintiff,                 )                             Civil Action No.
                                 )                             1:16-cv-00122-LPS-CJB
 v.                              )
                                 )
 GROUPON, INC.                   )
                                 )
                                 )
      Defendants.                )


   DECLARATION OF JAMES E. MALACKOWSKI IN SUPPORT OF GROUPON,
 INC.’S RESPONSE TO INTERNATIONAL BUSINESS MACHINES CORPORATION’S
    MOTION TO EXCLUDE OCEAN TOMO’S EMPLOYEES FROM ACCESSING
        CONFIDENTIAL INFORMATION UNDER THE PROTECTIVE ORDER

 I, James E. Malackowski declare that:

        1.      I am the Chairman and Chief Executive Officer of Ocean Tomo, LLC, the

 Intellectual Capital Merchant Banc™ firm providing industry leading financial products and

 services related to intellectual property including financial expert testimony, valuation, strategy

 consulting, proprietary research products, investment services, risk management products,

 innovation management services and transaction brokerage. Ocean Tomo assists clients –

 corporations, law firms, governments and institutional investors – in realizing Intellectual Capital

 Equity® value broadly defined. Subsidiaries of Ocean Tomo include Ocean Tomo Investments

 Group, LLC, a registered broker dealer, and integrated Intellectual Capital Merchant Banc®. My

 office is located at 200 West Madison, 37th Floor, Chicago, IL 60606. On more than fifty

 occasions, I have served as an expert in U.S. Federal Court, U.S. Bankruptcy Court, state court,

 the Ontario Superior Court of Justice or the International Trade Commission on questions

 relating to intellectual property economics including the subject of business valuation, reasonable

 royalty, lost profits, price erosion, commercial success, corrective advertising, creditor


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 allocations, Hatch Waxman Act market exclusivity, business significance of licensing terms

 including RAND obligations, and equities of a potential injunction. I am Certified in Financial

 Forensics, a Certified Licensing Professional and a Registered Certified Public Accountant in the

 State of Illinois. My curriculum vitae, which sets forth my qualifications to be an expert witness

 in this case, is attached hereto as Exhibit 1.

         2.      I have been retained by Fenwick & West LLP (“Fenwick”) on behalf of Groupon,

 Inc. (“Groupon”). I have been asked to provide this declaration in connection with Groupon’s

 response to International Business Machines Corporation’s (“IBM”) Motion to Exclude Ocean

 Tomo’s Employees from Accessing Confidential Information Under the Protective Order.

         3.      At any one time, the staff at Ocean Tomo execute dozens of assignments, many of

 which require no participation of myself. Other than the assignments in which I am directly

 involved, my knowledge as Chairman & Chief Executive Officer regarding Ocean Tomo’s

 engagements is limited to an administrative role. Specifically, I, like all other Managing

 Directors, have knowledge of the parties to an engagement and the particular staff who have

 been assigned to the engagement. This knowledge is required to perform our conflict check

 procedures and to efficiently operate the firm.

         4.      Ocean Tomo does not presently have a client relationship with IBM.




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                                       3
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       16.    I declare under penalty of perjury that the foregoing is true and correct.




 Executed on: September 6, 2017
                                                     James E. Malackowski




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                              Exhibit 1
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